        Case 22-10609-amc     Doc 480-1 Filed 10/18/24 Entered 10/18/24 14:26:34                                    Desc
                                      Exhibit A Page 1 of 1

                                          Exhibit A: Untimely Filed Proofs of Claim
                                                                                                                    Omnibus
                             Schedule F     Schedule F                                    Allowed       Disputed
                  Creditor                             C, U, D POC# POC Amount                                      Objection
                              Amount           No.                                         Claim         Claims
                                                                                                                   Paragraphs
1st Black Hawk LLC
715 East Nields Street       $196,191.95            3.1            76      $196,191.95    $196,191.95                20-22
West Chester, PA 19380
United Rentals
P.O. Box 100711               $35,453.02         3.151             77        $49,491.20                              20-22
Atlanta, GA 30384-0711




4889-1864-0598 v3-10/18/24                                     1
